              Case 19-11146-amc                        Doc         Filed 10/21/20 Entered 10/21/20 11:44:53                                 Desc Main
   Fill in this information to identify the case:                  Document      Page 1 of 6
Debtor 1                 Eduardo Chipollini
                         _____________________________________________________________________


Debtor 2                Miriam E Alva
                        _____________________________________________________________________
(Spouse, if filing)

                                        Eastern District of Pennsylvania (Philadelphia)
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             19­11146
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                      12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             16
                                                                                                   Court claim no. (if known): _______________________
 JPMorgan Chase Bank, National Association




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                            01/01/2021
                                                                                                                                             _____________


                                                                                                  New total payment:
                                                                                                                                             808.89
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      0 ____
                                                                    ____ 6 ____
                                                                            0 ____
                                                                                8

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

            
            ✔ No
             Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                Current escrow payment: $ _________________                                                 New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
             No
            
            ✔ Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:
                STEP RATE



                                                  4.00000
                Current interest rate: __________________%                                                                    4.25000
                                                                                                New interest rate: __________________%

                                                         632.53
               Current principal and interest payment: $ __________________                                                           653.21
                                                                                                New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              ✔ No
              
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
            Eduardo Chipollini                                                                   19­11146
      Case 19-11146-amc                  Doc Filed    10/21/20 Entered 10/21/20
            ________________________________________________________
      Debtor 1
            First Name         Middle Name    Last Name
                                                                          Case number (if11:44:53         Desc Main
                                                                                         known) ______________________

                                             Document          Page 2 of 6
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
    ✔
     I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Bill Capener
      ______________________________________________________________
      Signature
                                                                                      10/20/2020
                                                                                Date _______________




 Print:______________________________________________________________
        Bill Capener                                                             Vice President
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company JPMorgan Chase Bank, N.A.
         ____________________________________________________________

 Address    Chase Records Center Attn: Correspondence Mail
            _____________________________________________________________
            Number                  Street

            700 Kansas Lane, Mail Code LA4-5555
            _____________________________________________________________
            Address 2

             Monroe                                  LA      71203
            _____________________________________________________________
              City                                      State        ZIP Code



                     866-243-5851                                                PCN_Escalations@chase.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
           Case 19-11146-amc            Doc       Filed 10/21/20 Entered 10/21/20 11:44:53                  Desc Main
                                                  Document
                       UNITED STATES BANKRUPTCY COURT           Page 3 of 6

                                            Eastern District of Pennsylvania (Philadelphia)


                                                    Chapter 13 No. 19-11146
                                                    Judge: Judge Eric L. Frank

In re:
Eduardo Chipollini & Miriam E Alva
                                           Debtor(s).

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before October 22, 2020 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid


Debtor:                              By U.S. Postal Service First Class Mail Postage Prepaid
                                      Eduardo Chipollini
                                      306 Old Penllyn Pike

                                      Blue Bell PA 19422-1016



                                     By U.S. Postal Service First Class Mail Postage Prepaid
                                     Miriam E Alva
                                     306 Old Penllyn Pike

                                     Blue Bell PA 19422-1016


Debtor’s Attorney:                   By U.S. Postal Service First Class Mail Postage Prepaid
                                     ALBERT J. SCARAFONE, JR.
                                     Hill, Friedland & Scarafone
                                     1717 Swede Road
                                     Suite 200
                                     Blue Bell PA 19422-3372


                                     By U.S. Postal Service First Class Mail Postage Prepaid
                                     ALBERT J. SCARAFONE, JR.
                                     Hill, Friedland & Scarafone
                                     1717 Swede Road
                                     Suite 200
                                     Blue Bell PA 19422-3372


Trustee:                             By U.S. Postal Service First Class Mail Postage Prepaid
                                     WILLIAM C. MILLER, Esq.
                                     Chapter 13 Trustee
                                     P.O. Box 1229

                                     Philadelphia PA 19105

                                                             _______________________________________________
                                                             /s/Bill Capener
                                                             Vice President
                                                             JPMorgan Chase Bank, N.A.
Case 19-11146-amc   Doc   Filed 10/21/20 Entered 10/21/20 11:44:53   Desc Main
                          Document      Page 4 of 6
Case 19-11146-amc   Doc   Filed 10/21/20 Entered 10/21/20 11:44:53   Desc Main
                          Document      Page 5 of 6
Case 19-11146-amc   Doc   Filed 10/21/20 Entered 10/21/20 11:44:53   Desc Main
                          Document      Page 6 of 6
